
333 S.E.2d 485 (1985)
314 N.C. 329
GILBERT ENGINEERING COMPANY
v.
CITY OF ASHEVILLE, North Carolina, a municipal corporation, and O'Brien &amp; Gere, Inc., a corporation.
No. 310P85.
Supreme Court of North Carolina.
August 13, 1985.
Raymer, Lewis, Eisele, Patterson &amp; Ashburn, Statesville, for plaintiff.
Kennedy, Covington, Lobdell &amp; Hickman, Charlotte, and Harold K. Bennett, Asheville, for defendants.
Plaintiff's petition for discretionary review under G.S. § 7A-31. Denied.
